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Via ECF

July 12, 2019

The Honorable Randolph D. Moss
United States District Judge
United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington, D.C. 20001

Re:      United States v. Papadopoulos, Case No. 17-CR-182 (RDM)

Dear Judge Moss:

         I represent George Papadopoulos in the above-referenced case.

       I am writing to respectfully request an order for Pretrial Services to release Mr. Papadopoulos’s
passports pursuant to this Court’s recent order granting a temporary modification of his conditions of
supervised release. As the Court is aware, it recently approved Mr. Papadopoulos’s travel later this
month to Europe for business.

         I thank the Court for its consideration in this matter.


                                                Respectfully submitted,

                                                /s/ Caroline J. Polisi
                                                Caroline J. Polisi


cc: Aaron Zelinsky, Esq., DOJ (by ECF and email)
      U.S. Probation Officer Yvette Trepichio (by email)




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